  Case 1:19-cv-07257-NLH Document 7 Filed 07/08/20 Page 1 of 2 PageID: 25



                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY
______________________________
                               :
BYRON KEMP,                    :
                               :    No. 19-cv-7257 (NLH)
               Petitioner,     :
                               :
               v.              :    MEMORANDUM OPINION
                               :
                               :
WARDEN LEITH, et al.,          :
                               :
               Respondents.    :
______________________________:

     IT APPEARING THAT:

     1.    Petitioner Byron Kemp filed a petition for writ of

habeas corpus under 28 U.S.C. § 2241.        ECF No. 1.

     2.    On October 28, 2019, the Court’s October 15, 2019 Order

that been mailed to Petitioner’s address of record at the

Burlington County Jail in Mount Holly, New Jersey was returned

as undeliverable.     ECF No. 6.

     3.    The Notice mailed to Petitioner’s address of record has

been returned to sender with the envelope marked “Return to

Sender, Not Deliverable as Addressed, Unable To Forward.”           Id.

Petitioner’s addressed was crossed out with a handwritten note

stating, “Return to Sender.”       Id.

     4.    Petitioner has not communicated with the Court

regarding his new address, in violation of Local Civil Rule

10.1.     See L. Civ. R. 10.1(a) (“Counsel and/or unrepresented
                                     1
  Case 1:19-cv-07257-NLH Document 7 Filed 07/08/20 Page 2 of 2 PageID: 26



parties must advise the Court of any change in their or their

client’s address within seven days of being apprised of such

change by filing a notice of said change with the Clerk.”).

     5.   Based on Petitioner’s failure to comply with Local

Civil Rule 10.1, the Clerk of the Court will be ordered to

administratively terminate this case.

     6.    Petitioner may reopen this matter by submitting his

new contact information to the Court.

     7.    The Clerk shall be directed to reopen this matter upon

receipt of Petitioner’s new address.

     8.   An appropriate order follows.




Dated: July 8, 2020                      s/ Noel L. Hillman
At Camden, New Jersey                   NOEL L. HILLMAN, U.S.D.J.




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